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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF PENNSYLVANIA

                                               )
    DONALD J. TRUMP FOR                        ) Civil Action
    PRESIDENT, INC.; et al.,                   )
                                               )
                 Plaintiffs,                   )
                                               )
          v.                                   ) No.: 2-20-CV-966
                                               )
    KATHY BOOCKVAR; et al.,                    )
                                               )
                 Defendants.                   ) Judge J. Nicholas Ranjan
                                               )

                         NOTICE OF REMAINING VIABLE CLAIMS
                           AND PROPOSED DISPOSITION PLAN

         Pursuant to this Court’s September 17, 2020 Order (ECF #447), Plaintiffs provide the

following notice of: (i) what claims from their Verified Amended Complaint (ECF #234) remain

viable following the Pennsylvania Supreme Court’s September 17, 2020 decisions in Pennsylvania

Democratic Party v. Boockvar, No. 133 MM 2020, 2020 Pa. LEXIS 4872 (Pa., Sept. 17, 2020), and

Crossey v. Boockvar, No. 108 MM 2020, 2020 Pa. LEXIS 4868 (Pa., Sept. 17, 2020);1 (ii) how the

viable claims have been altered by the Pennsylvania Supreme Court’s September 17, 2020,

decisions; and (iii) Plaintiffs’ specific proposal and timeline for presenting the remaining viable

claims to the Court for disposition (e.g., hearing or on papers; Rule 57 hearing; motion for

injunction; cross-motions for summary judgment; etc.). Also, Plaintiffs will address the additional

claims that arose between the stay of this case on August 23, 2020, and the September 17, 2020,

lifting of that stay (i.e., the Pennsylvania Department of State’s September 11, 2020, guidance




1
 At the time this Court entered its September 17, 2020 Order, it was not provided with a copy of
the Pennsylvania Supreme Court’s decision in Crossey v. Boockvar. However, since that decision
impacts some of the claims and defenses in this case, Plaintiffs also address that decision in this
Notice.
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which provides, inter alia, that county election boards are not authorized to set aside and challenge

absentee or mail-in ballots that lack genuine signatures).

I.     PLAINTIFFS’ CLAIMS FOLLOWING THE PENNSYLVANIA SUPREME
       COURT’S SEPTEMBER 17, 2020 DECISIONS.

       In their Verified Amended Complaint, Plaintiffs stated various federal and state

constitutional claims involving voter dilution, poll watching, and in-person voting. Those claims,

as they remain following the Pennsylvania Supreme Court’s September 17, 2020 decisions, are as

follows:

               A.      Voter Dilution Due To Drop Boxes And Other Satellite Ballot-
                       Collection Sites (Counts I, II, III, VI, & VII).

       In Counts I, II, III, VI, and VII of their Verified Amended Complaint, Plaintiffs raise several

federal and state constitutional challenges to Defendants’ use and implementation of drop boxes

and other satellite ballot collection sites. These challenges include:

               (1)     The unconstitutional dilution of validly cast ballots in the November
                       3, 2020 General Election through Defendants’ collection of absentee
                       and mail-in ballots via drop boxes and other satellite ballot-collection
                       sites which are not statutorily authorized by the Pennsylvania
                       Election Code, thereby violating the Elections Clause and related
                       Presidential Electors Clause of the United States Constitution, and
                       the Free and Equal Elections Clause of the Pennsylvania Constitution
                       (ECF #234, at ¶¶ 20-26, 33-39, 40-46, 99, 122-134, 162-163, 193-
                       205 [Count I], & 216-222 [Count III]);

               (2)     The unconstitutional dilution of validly cast ballots in the November
                       3, 2020 General Election through Defendants’ use of non-statutory,
                       unmanned drop-boxes and other satellite ballot-collection sites
                       which enable ballot harvesting, third-party delivery, and/or fraud or
                       other illegal casting or tampering of absentee and mail-in ballots to
                       occur and/or go undetected, thus violating the right to vote secured
                       by the First and Fourteenth Amendments of the United States
                       Constitution (ECF #234, at ¶¶ 126-128, & 201-205 [Count I]);

               (3)     The unconstitutional dilution of validly cast ballots in the November
                       3, 2020 General Election through Defendants’ arbitrary, disparate,
                       and/or uneven use and implementation of drop boxes and other
                       ballot-collection sites, resulting in the treatment of voters across the
                       state in an unequal fashion in violation of the Equal Protection

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                       clauses of the United States and Pennsylvania Constitutions (ECF
                       #234, at ¶¶ 27-32, 126-128, 164, 206-215 [Count II], & 216-222
                       [Count III]); and

               (4)     The unconstitutional dilution of validly cast ballots in the November
                       3, 2020 General Election through Defendants’ failure to comply with
                       the Pennsylvania Election Code’s notice and site selection
                       requirements when establishing drop boxes and other ballot-
                       collection sites, thus violating the right to vote secured by the First
                       and Fourteenth Amendments of the United States Constitution, and
                       the Equal Protection and Free and Equal Elections Clauses of the
                       Pennsylvania Constitution (ECF #234, at ¶¶ 126-134, 237-248
                       [Count VI], & 249-252 [Count VII]).

       In Pennsylvania Democratic Party v. Boockvar, the Pennsylvania Supreme Court ruled that

“the Election Code should be interpreted to allow county boards of election to accept hand-delivered

mail-in ballots at locations other than their office addresses including drop-boxes.” Pennsylvania

Democratic Party v. Boockvar, 2020 Pa. LEXIS 4872, at *22. However, in making this decision,

the Pennsylvania Supreme Court expressly declined to decide whether Defendants’ uneven

employment of a myriad of drop boxes and other systems to accept hand-delivered mail-in ballots

violated Federal law including the Constitution’s equal protection guarantee. Id. at *23-*24. Nor

was the Pennsylvania Supreme Court asked to decide, and nor did it offer any opinion, on whether

drop boxes and other ballot-collection sites must satisfy the Election Code’s site and notice

requirements applicable to “polling places.” Id. at *2-*5. Further, although Chief Justice Saylor in

dissent noted that “the legislative policy to restrain aggregated handling of mail-in ballots by third-

parties is manifest … and the enforceability of this policy is weakened by the use of non-statutory,

unmanned drop boxes,” id. at *102, the Pennsylvania Supreme Court offered no opinion on the

January 10, 2020, or August 19, 2020, guidance by Defendant Kathy Boockvar, Secretary of the

Commonwealth of Pennsylvania, on the use of unmanned drop boxes, or the federal and state

constitutional issues Plaintiffs have raised on whether unmanned drop boxes enable ballot

harvesting, third-party delivery, and/or fraud or other illegal casting or tampering of absentee and


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mail-in ballots to occur and/or go undetected in violation of federal law. Id. at *2-*5 & *22-*25.

However, in Crossey v. Boockvar, the Pennsylvania Supreme Court reaffirmed that the Election

Code, as amended by Act 77, prohibits ballot-harvesting and other third-party delivery of absentee

and mail-in ballots cast by non-disabled voters. Crossey v. Boockvar, 2020 Pa. LEXIS 4868, at *4-

*5.

        Accordingly, given the Pennsylvania Supreme Court’s September 17, 2020 decisions,

Plaintiffs’ federal and state constitutional claims of voter dilution solely on the basis that drop boxes

and other collection sites are not statutorily authorized by the Pennsylvania Election Code is no

longer viable. However, Plaintiffs’ remaining federal and state constitutional claims of voter

dilution on the basis that (a) Defendants’ use of unmanned drop boxes or other ballot-collection

sites enables ballot harvesting, third-party delivery, and/or fraud or other illegal casting or

tampering of absentee and mail-in ballots to occur and/or go undetected, thus violating the right to

vote secured by the First and Fourteenth Amendments of the United States Constitutions, (b)

Defendants’ arbitrary, disparate, and/or uneven use and implementation of drop boxes and other

ballot-collection sites results in the treatment of voters across the state in an unequal fashion in

violation of the Equal Protection clauses of the United States and Pennsylvania Constitutions, and

(c) Defendants’ failure to comply with the Pennsylvania Election Code’s notice and site selection

requirements when establishing drop boxes and other ballot-collection sites violates the right to

vote secured by the First and Fourteenth Amendments of the United States Constitution, and the

Equal Protection and Free and Equal Elections Clauses of the Pennsylvania Constitution, are all

viable claims.

                 B.     Voter Dilution Due To Third-Party In-Person Delivery Of Non-
                        Disabled Voters’ Absentee And Mail-In Ballots (Counts I, II, & III).

        Also in Counts I, II, and III of their Verified Amended Complaint, Plaintiffs raise several

federal and state constitutional challenges to Defendants’ allowance and counting of non-disabled
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voters’ absentee and mail-in ballots that are delivered in-person by third-parties. These challenges

include:

               (1)     The unconstitutional dilution of validly cast ballots in the November
                       3, 2020 General Election through Defendants’ allowance and
                       counting of non-disabled voters’ absentee and mail-in ballots
                       delivered in-person via ballet harvesting and/or other third-party
                       delivery in contravention of the Pennsylvania Election Code, thereby
                       violating the Elections Clause and related Presidential Electors
                       Clause of the United States Constitution, and the Free and Equal
                       Elections Clause of the Pennsylvania Constitution (ECF #234, at ¶¶
                       20-26, 33-39, 40-46, 69, 73-79, 92, 122-134, 162-163, 193-205
                       [Count I], & 216-222 [Count III]);

               (2)     The unconstitutional dilution of validly cast ballots in the November
                       3, 2020 General Election through Defendants’ allowance and
                       counting of non-disabled voters’ absentee and mail-in ballots
                       delivered in-person via ballet harvesting and/or other third-party
                       delivery, thus violating the right to vote secured by the First and
                       Fourteenth Amendments of the United States Constitution (ECF
                       #234, at ¶¶ 126-128, & 201-205 [Count I]); and

               (3)     The unconstitutional dilution of validly cast ballots in the November
                       3, 2020 General Election through Defendants’ arbitrary, disparate,
                       and/or uneven allowance and counting of non-disabled voters’
                       absentee and mail-in ballots delivered in-person via ballet harvesting
                       and/or other third-party delivery, resulting in the treatment of voters
                       across the state in an unequal fashion in violation of the Equal
                       Protection clauses of the United States and Pennsylvania
                       Constitutions (ECF #234, at ¶¶ 27-32, 126-128, 164, 206-215 [Count
                       II], & 216-222 [Count III]).

       In Pennsylvania Democratic Party v. Boockvar, the parties in that case never asked the

Pennsylvania Supreme Court to address the Election Code’s prohibition against third-party in-

person delivery of non-disabled voters’ absentee and mail-in ballots. Pennsylvania Democratic

Party v. Boockvar, 2020 Pa. LEXIS 4872, at *2-*5. But the parties in Crossey v. Boockvar did

raise that issue, and in a unanimous ruling, the Pennsylvania Supreme Court reaffirmed that the

Election Code, as amended by Act 77, prohibits ballot-harvesting and other third-party delivery of

absentee and mail-in ballots cast by non-disabled voters. Crossey v. Boockvar, 2020 Pa. LEXIS

4868, at *4-*5. Accordingly, given the Pennsylvania Supreme Court’s September 17, 2020

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decisions, all of Plaintiffs’ federal and state constitutional claims of voter dilution as they relate to

third-party in-person delivery of non-disabled voters’ absentee and mail-in ballots remain viable.

                C.      Voter Dilution Due To The Counting of Non-Compliant Absentee And
                        Mail-In Ballots (Counts I, II, & III).

        As further stated in Counts I, II, and III of their Verified Amended Complaint, Plaintiffs

raise several federal and state constitutional challenges to Defendants’ counting of absentee and

mail-in ballots that fail to comply with the Pennsylvania Election Code. Specifically, Plaintiffs

challenge Defendants’ counting of the ballots that: (i) lack an inner secrecy envelope; (ii) contain

on the secrecy envelope text, marks, or symbols which reveal the elector’s identity, political

affiliation, or candidate preference; and/or (iii) do not include on the outside envelope a completed

declaration that is signed and dated by the elector. These challenges include:

                (1)     The unconstitutional dilution of validly cast ballots in the November
                        3, 2020 General Election through Defendants’ allowance and
                        counting of non-compliant absentee and mail-in ballots in
                        contravention of the Pennsylvania Election Code, thereby violating
                        the Elections Clause and related Presidential Electors Clause of the
                        United States Constitution, and the Free and Equal Elections Clause
                        of the Pennsylvania Constitution (ECF #234, at ¶¶ 20-26, 33-39, 40-
                        46, 69, 73-79, 92, 122-134, 153-161, 162-163, 193-205 [Count I], &
                        216-222 [Count III]);

                (2)     The unconstitutional dilution of validly cast ballots in the November
                        3, 2020 General Election through Defendants’ allowance and
                        counting of non-compliant absentee and mail-in ballots, thus
                        violating the right to vote secured by the First and Fourteenth
                        Amendments of the United States Constitution (ECF #234, at ¶¶ 126-
                        128, 153-161, 162-163, & 201-205 [Count I]); and

                (3)     The unconstitutional dilution of validly cast ballots in the November
                        3, 2020 General Election through Defendants’ arbitrary, disparate,
                        and/or uneven allowance and counting of non-compliant absentee
                        and mail-in ballots, resulting in the treatment of voters across the
                        state in an unequal fashion in violation of the Equal Protection
                        clauses of the United States and Pennsylvania Constitutions (ECF
                        #234, at ¶¶ 27-32, 126-128, 153-161, 164, 206-215 [Count II], &
                        216-222 [Count III]).



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        In Pennsylvania Democratic Party v. Boockvar, the Pennsylvania Supreme Court made two

rulings pertinent to Plaintiffs’ claims as they relate to non-compliant absentee and mail-in ballots.

First, relying upon its ruling in In re Canvass of Absentee Ballots of Nov. 4, 2003 Gen. Election

(Appeal of Pierce), 843 A.2d 1223 (Pa. 2004), the Pennsylvania Supreme Court found that

“[w]hatever the wisdom of the requirement, the [Election Code’s] command that the mail-in elector

utilize the secrecy envelope and leave it unblemished by identifying information is neither

ambiguous nor unreasonable,” and that “[t]he clear thrust of Appeal of Pierce … is that, even absent

an express sanction, where legislative intent is clear and supported by a weighty interest like fraud

prevention, it would be unreasonable to render such a concrete provision ineffective for want of

deterrent or enforcement mechanism … [and] that violations of the mandatory statutory provisions

that pertain to integral aspects of the election process should not be invalidated sub silento for want

of a detailed enumeration of consequence.” Pennsylvania Democratic Party v. Boockvar, 2020 Pa.

LEXIS 4872, at *68 & *72. Thus, the Supreme Court found that the use of the word “shall” in

Election Code Sections 3150.16(a) and 3146.6(a) is mandatory, and that an “elector’s failure to

comply with such requisite [language] by enclosing the ballot in the secrecy envelope renders the

ballot invalid.” Id., at *74.

        Second, the Pennsylvania Supreme Court rejected the Pennsylvania Democratic Party’s

request to require county election boards to contact electors whose mail-in or absentee ballots are

non-compliant and give them an opportunity to cure those defects. Id., at *50-*57. According to

the Supreme Court, there exists “no constitutional or statutory basis that would countenance

imposing [such a] procedure …,” and “[t]o the extent that a voter is at risk for having his or her

ballot rejected due to minor errors made in contravention of those requirements, … the decision to

provide a ‘notice and opportunity to cure’ procedure to alleviate that risk is one best suited for the

Legislature.” Id., at *55-*56. Therefore, the Supreme Court found no judicial basis to relieve a

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voter’s failure to comply with the Election Code’s absentee and mail-in voting mandatory

provisions.

       Given the Pennsylvania Supreme Court’s September 17, 2020 decision, all of Plaintiffs’

federal and state constitutional claims of voter dilution as they relate to non-compliant absentee and

mail-in ballots remain viable.

               D.      Voter Dilution Due To Failure To Verify Absentee And Mail-In Voter
                       Qualifications (Counts I, II, & III).

       The final voter dilution claim stated in Counts I, II, and III of Plaintiffs’ Verified Amended

Complaint concern Defendants’ approval of in-person absentee and mail-in ballot applications

without performing the requisite verification of the applicant’s permanent voter registration record.

These challenges include:

               (1)     The unconstitutional dilution of validly cast ballots in the November
                       3, 2020 General Election through Defendants’ approval of in-person
                       absentee and mail-in ballot applications without performing the
                       requisite verification of the applicant’s permanent voter registration
                       record in contravention of the Pennsylvania Election Code, thereby
                       violating the Elections Clause and related Presidential Electors
                       Clause of the United States Constitution, and the Free and Equal
                       Elections Clause of the Pennsylvania Constitution (ECF #234, at ¶¶
                       20-26, 33-39, 40-46, 69, 73-79, 92, 122-134, 162-163, 193-205
                       [Count I], & 216-222 [Count III]);

               (2)     The unconstitutional dilution of validly cast ballots in the November
                       3, 2020 General Election through Defendants’ approval of in-person
                       absentee and mail-in ballot applications without performing the
                       requisite verification of the applicant’s permanent voter registration
                       record, thus violating the right to vote secured by the First and
                       Fourteenth Amendments of the United States Constitution (ECF
                       #234, at ¶¶ 126-128, & 201-205 [Count I]); and

               (3)     The unconstitutional dilution of validly cast ballots in the November
                       3, 2020 General Election through Defendants’ arbitrary, disparate,
                       and/or uneven approval of in-person absentee and mail-in ballot
                       applications without performing the requisite verification of the
                       applicant’s permanent voter registration record, resulting in the
                       treatment of voters across the state in an unequal fashion in violation
                       of the Equal Protection clauses of the United States and Pennsylvania


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                       Constitutions (ECF #234, at ¶¶ 27-32, 126-128, 164, 206-215 [Count
                       II], & 216-222 [Count III]).2

       In Pennsylvania Democratic Party v. Boockvar, the parties in that case never asked the

Pennsylvania Supreme Court to address the Election Code’s provisions concerning the approval of

in-person absentee and mail-in ballot applications or the Secretary’s January 10, 2020 guidance

related to that issue. Pennsylvania Democratic Party v. Boockvar, 2020 Pa. LEXIS 4872, at *2-*5.

Nor did the Pennsylvania Supreme Court make any decision on such issues. Accordingly, all of

Plaintiffs’ federal and state constitutional claims of voter dilution as they relate to Defendants’

approval of in-person absentee and mail-in ballot applications without performing the requisite

verification of the applicant’s permanent voter registration record remain viable.

               E.      Poll Watching Claims (Counts IV & V).

       In Counts IV and V of their Verified Amended Complaint, Plaintiffs raise several federal

and state constitutional challenges to the constitutionality of the Election Code’s poll watcher

provisions. These challenges include:

               (1)     Both facial and as-applied challenges under the First and Fourteenth
                       Amendments of the United States Constitution and the Equal
                       Protection and Free and Equal Elections clauses of the Pennsylvania
                       Constitution to the county residency requirement under 25 P.S. §
                       2687 (ECF #234, at ¶¶ 47-62, 165-189, 223-232 [Count IV], & 233-
                       236 [Count V]); and

               (2)     Both facial and as-applied challenges under the First and Fourteenth
                       Amendments of the United States Constitution and the Equal
                       Protection and Free and Equal Elections clauses of the Pennsylvania

2
  As Plaintiffs discuss in Section II of this Notice, Secretary Boockvar and the Pennsylvania
Department of State issued a guidance dated September 11, 2020, which unequally treats voters
depending on how they vote (i.e., in-person voters are subject to signature comparison and
challenge under 25 P.S. § 3050(a.3)(1)-(2), whereas absentee and mail-in voters are not subject to
any such signature comparison and challenge provisions). Although Plaintiffs believe Section
3146.8(g)(3)-(7) of the Election Code implements a signature comparison and challenge procedure
for absentee and mail-in ballots, the Secretary’s September 11, 2020 guidance stating otherwise
creates additional federal and state constitutional concerns which Plaintiffs will seek to address via
an amended/supplemental complaint. Plaintiffs reserve all rights to seek to amend their complaint
in this action to protect their Federal rights.
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                       Constitution to the “polling place” requirement under 25 P.S. § 2687
                       (ECF #234, at ¶¶ 47-62, 165-189, 223-232 [Count IV], & 233-236
                       [Count V]).

       In Pennsylvania Democratic Party v. Boockvar, the Pennsylvania Supreme Court declared

that “the poll watcher residency requirement set forth in Section 2687(b) of the Election Code, 25

P.S. § 2687(b), to be constitutional” under both the Pennsylvania and United States Constitutions.

Pennsylvania Democratic Party v. Boockvar, 2020 Pa. LEXIS 4872, at *88.                 Accordingly,

Plaintiffs’ facial challenge to the county residency requirement under 25 P.S. § 2687 is no longer a

viable claim.

       However, in Pennsylvania Democratic Party v. Boockvar, the Pennsylvania Supreme Court

had no factual record before it to address as-applied challenges to the Election Code’s county

residency requirement. Id., at *6, n. 10, & *7. See Sixth Angel Shepherd Rescue Inc. v. Pa. SPCA,

No. 10-3101, 2011 WL 605697, 2011 U.S. Dist. LEXIS 15438, at *17-*18 (E.D. Pa., Feb. 15, 2011)

(“An as-applied challenge requires the development of a factual record for the court to consider,

addressing ‘whether a statute is unconstitutional on the facts of a particular case or to a particular

party.’”) (quoting Harris v. Mexican Specialty Foods, Inc., 564 F.3d 1301, 1308 (11th Cir. 2009)).

Nor did the parties ask the Supreme Court to address, and the Supreme Court offered no opinion

on, the constitutionality of the “polling place” restriction in the Election Code’s poll watching

provisions. Hence, Plaintiffs’ as-applied challenge to the Election Code’s county residency

requirement, and Plaintiffs’ facial and as-applied challenges to the constitutionality of the “polling

place” restriction in the Election Code’s poll watching provisions, remain viable claims.

                F.     In-Person Voting Claims (Counts VIII & IX).

       In Counts VIII and IX of their Verified Amended Complaint, Plaintiffs raise federal and

state constitutional challenges to Defendants’ misadministration of absentee and mail-in voters who

appear at their polling places on Election Day, both in terms of those who applied for but did not


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vote their absentee or mail-in ballots and seek to vote a regular ballot upon the remission of their

spoiled absentee or mail-in ballots, and those who applied for and did vote their absentee and mail-

in ballot and then seek to vote either a regular or provisional ballot. (ECF #234, at ¶¶ 138-152, 162-

164, 253-263 [Count VIII], & 264-267 [Count IX]). In Pennsylvania Democratic Party v.

Boockvar, the parties in that case never asked the Pennsylvania Supreme Court to address the

Election Code’s provisions concerning whether absentee and mail-in voters can vote at their polling

places on Election Day or the Secretary’s January 30, 2020, and March 5, 2020, guidance related

to that issue. Pennsylvania Democratic Party v. Boockvar, 2020 Pa. LEXIS 4872, at *2-*5. Nor

did the Pennsylvania Supreme Court make any decision on such issues. Accordingly, all of

Plaintiffs’ federal and state constitutional claims as they relate to Defendants’ misadministration of

absentee and mail-in voters who appear at their polling places on Election Day remain viable.

II.    ANY ALTERATIONS OF PLAINTIFFS’ CLAIMS FOLLOWING THE
       PENNSYLVANIA SUPREME COURT’S SEPTEMBER 17, 2020 DECISIONS.

       As they have noted in Section I of this Notice, Plaintiffs’ claims that drop boxes and other

ballot-collection sites are not statutorily authorized under the Election Code and that the Election

Code’s county residency requirement for poll workers is facially unconstitutional are no longer

viable claims. Accordingly, Plaintiffs withdraw those two claims from this case.

       As for the remainder of Plaintiffs’ claims, they have not been altered by the Pennsylvania

Supreme Court’s September 17, 2020 decisions. In fact, several of those claims have been

strengthened by the Supreme Court’s September 17, 2020 decisions. For example, as for Plaintiffs’

claims concerning non-compliant absentee and mail-in ballots, the Pennsylvania Supreme Court

rejected the position advocated by Secretary Boockvar and several of the County Election Boards

and the Intervenor Defendants that ballots lacking an inner secrecy envelope should be counted.

Pennsylvania Democratic Party v. Boockvar, 2020 Pa. LEXIS 4872, at *57-*74. Also, the

Pennsylvania Supreme Court rejected the Intervenor Defendants’ calls for cure periods and third-
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party delivery of absentee and mail-in ballots. Id., at *50-*57; Crossey v. Boockvar, 2020 Pa.

LEXIS 4868, at *4-*5. Thus, the remainder of Plaintiffs’ claims have not been altered by the

Pennsylvania Supreme Court’s September 17, 2020 decisions.

       By examining the “Election Administration Tools” portion of the Pennsylvania Department

of State’s web site, Plaintiffs have learned that the Secretary’s August 19, 2020 guidance on the

counting of absentee and mail-in ballots that lack an inner secrecy envelope has been removed.

Also removed is the Secretary’s March 5, 2020 guidance titled “Pennsylvania Provisional Voting

Guidance.” What such removal means and whether the County Election Boards will follow suit

remains an open question.

       Additionally, as mentioned by Justice Wecht in his concurring opinion, Secretary Boockvar

has issued a guidance dated September 11, 2020, and titled “Guidance Concerning Examination of

Absentee and Mail-In Ballot Return Envelopes.” See Pennsylvania Democratic Party v. Boockvar,

2020     Pa.    LEXIS       4872,    at   *98,     n.    18    (citing    https://www.dos.pa.gov/

VotingElections/OtherServicesEvents/Documents/Examination%20of%20Absentee%20and%20

Mail-In%20Ballot%20Return%20Envelopes.pdf. In this latest guidance, which seeks to provide

“consistency across the 67 counties,” Secretary Boockvar instructs election officials that “[t]he

Pennsylvania Election Code does not authorize the county board of elections to set aside returned

absentee or mail-in ballots based solely on signature analysis by the county board of elections.”

Id., at p. 2. Combined with the January 10, 2020 guidance in which she states that in-person

absentee and mail-in ballot applications must be accepted “unless there is a bona fide objection to

the mail-in or absentee ballot application,” the Secretary’s latest guidance creates an unequal

treatment of voters depending on how they vote (i.e., in-person voters are subject to signature

comparison and challenge under 25 P.S. § 3050(a.3), whereas absentee and mail-in voters are not

subject to any such signature comparison and challenge). Although Plaintiffs believe Section

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3146.8(g)(3)-(7) of the Election Code implements a signature comparison and challenge procedure

for absentee and mail-in ballots, the Secretary’s September 11, 2020 guidance stating otherwise

creates additional federal and state constitutional concerns which Plaintiffs will seek to address via

a supplemental complaint.

III.    PLAINTIFFS’ PROPOSED DISPOSITION PLAN.

        At the time this case was stayed on August 23, 2020, the following pending deadlines were

in place:3

               Date                                 Deadline/Event
               August 26, 2020                      Completion      of    all   fact-witness
                                                    depositions
               August 26, 2020                      Production of all affirmative expert
                                                    reports
               September 2, 2020                    Production of all rebuttal expert reports
               September 9, 2020                    Completion of all expert depositions
               September 4, 2020                    Last day to file any summary judgment
                                                    motion
               September 11, 2020                   Last day to file any response to a filed
                                                    summary judgment motion
               September 10, 2020, at 3:00 PM       Pre-hearing telephone conference
               September 15, 2020, by 5:00 PM Submission of pre-hearing briefs;
                                                    Exchange and submission of exhibits
                                                    and witness lists; and
                                                    Filing of witness declarations
               September 15, 2020, by 5:00 PM Filing of any motion in limine and
                                              Daubert motion
               September 18, 2020, by 5:00 PM Filing of any response to in limine and
                                              Daubert motions
               September 22 and 23, 2020, at Evidentiary hearing
               9:30 AM – 6:00 PM each day




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 This list does not include the deadlines for those activities that were completed as of August 23,
2020, such as the filing and responses to Rule 12 motions and service of written discovery requests.
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       Before the stay was entered, Plaintiffs noticed and were prepared to take before August 26,

2020, the depositions of two employees of the Pennsylvania Department of State (i.e., Michael

Moser and Veronica Degraffenreid), and the Rule 30(b)(6) depositions of a third-party witness (i.e.,

Committee of Seventy) and the following County Election Boards: Allegheny; Philadelphia;

Lawrence; Delaware; and Montgomery. However, these depositions did not proceed once the stay

was entered. Plaintiffs intend to proceed with these noticed depositions and/or possibly other

county BOE depositions and a supplemental deposition of Secretary Boockvar, all of which will be

narrowly tailored (and the latter further narrowly tailored to address the events which have occurred

since the taking of her August 21, 2020 deposition) to the Plaintiffs’ remaining viable claims and

the September 11, 2020 guidance.

       Further, there are approximately 12 County Election Boards that have not responded at all

to Plaintiffs’ written discovery requests and are likely to require this Court’s order to compel their

compliance. Again, Plaintiffs were prepared to address this discovery issue with the Court but

interpreted this Court’s August 23, 2020 Order as staying all discovery.

       Because the November 3, 2020 General Election is fast approaching, Plaintiffs believe an

evidentiary hearing focused on Plaintiffs’ remaining viable claims and their constitutional

challenges to the Secretary’s September 11, 2020 guidance must be held as soon as possible. In

light of the Pennsylvania Supreme Court’s September 17, 2020 decisions, Plaintiffs remain open

to the possibility that some or all of their claims can be resolved through the entry of one or more

stipulations and/or consent decrees with Secretary Boockvar and the County Election Boards.

However, to the extent that is not possible, then Plaintiffs seek an evidentiary hearing as soon as

possible.

       In light of the above, Plaintiffs propose the following schedule:

               Date                                 Deadline/Event

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             September 28, 2020                Completion      of    all   fact-witness
                                               depositions
             September 29, 2020                Production of all affirmative expert
                                               reports
             September 30, 2020                Production of all rebuttal expert reports
             October 2, 2020                   Pre-hearing telephone conference
             October 2, 2020, by 5:00 PM       Submission of pre-hearing briefs;
                                               Exchange and submission of exhibits
                                               and witness lists; and
                                               Filing of witness declarations
             October 5 and 6, 2020, at 9:30 Evidentiary hearing
             AM – 6:00 PM each day

                                            Respectfully submitted,

                                            PORTER WRIGHT MORRIS & ARTHUR LLP

Date: September 20, 2020              By: /s/ Ronald L. Hicks, Jr.
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                                            Counsel for Plaintiffs


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                                      CERTIFICATE OF SERVICE

             I hereby certify that I caused a true and correct copy of the foregoing Notice to be filed on

September 20, 2020, via ECF, which system will serve notice of same on all parties registered to

receive same via the ECF system. For any party who has yet to enter an appearance, the

undersigned certifies that a copy of the foregoing filing will be served on that party via First Class

Mail and a copy sent to the County Solicitor, if known, via email or fax.

                                                      Respectfully submitted,

                                                      PORTER WRIGHT MORRIS & ARTHUR LLP

                                                By: /s/ Ronald L. Hicks, Jr.
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